       NOTE: This order is nonprecedential.


 United States Court of Appeals
     for the Federal Circuit
             ______________________

 V.O.S. SELECTIONS, INC., PLASTIC SERVICES
  AND PRODUCTS, LLC, DBA GENOVA PIPE,
    MICROKITS, LLC, FISHUSA INC., TERRY
          PRECISION CYCLING LLC,
              Plaintiffs-Appellees

                        v.

DONALD J. TRUMP, IN HIS OFFICIAL CAPACITY
    AS PRESIDENT OF THE UNITED STATES,
    EXECUTIVE OFFICE OF THE PRESIDENT,
   UNITED STATES, PETE R. FLORES, ACTING
COMMISSIONER FOR UNITED STATES CUSTOMS
 AND BORDER PROTECTION, IN HIS OFFICIAL
 CAPACITY AS ACTING COMMISSIONER OF THE
    UNITED STATES CUSTOMS AND BORDER
    PROTECTION, JAMIESON GREER, IN HIS
OFFICIAL CAPACITY AS UNITED STATES TRADE
  REPRESENTATIVE, OFFICE OF THE UNITED
  STATES TRADE REPRESENTATIVE, HOWARD
    LUTNICK, IN HIS OFFICIAL CAPACITY AS
 SECRETARY OF COMMERCE, UNITED STATES
     CUSTOMS AND BORDER PROTECTION,
              Defendants-Appellants
             ______________________

                   2025-1812
             ______________________
2                            V.O.S. SELECTIONS, INC. v. TRUMP




    Appeal from the United States Court of International
Trade in No. 1:25-cv-00066-GSK-TMR-JAR, Judge Gary S.
Katzmann, Judge Timothy M. Reif, and Senior Judge Jane
A. Restani.
            -------------------------------------------------

STATE OF OREGON, STATE OF ARIZONA, STATE
   OF COLORADO, STATE OF CONNECTICUT,
  STATE OF DELAWARE, STATE OF ILLINOIS,
STATE OF MAINE, STATE OF MINNESOTA, STATE
OF NEVADA, STATE OF NEW MEXICO, STATE OF
       NEW YORK, STATE OF VERMONT,
             Plaintiffs-Appellees

                             v.

PRESIDENT DONALD J. TRUMP, UNITED STATES
    DEPARTMENT OF HOMELAND SECURITY,
   KRISTI NOEM, SECRETARY OF HOMELAND
   SECURITY, IN HER OFFICIAL CAPACITY AS
     SECRETARY OF THE DEPARTMENT OF
    HOMELAND SECURITY, UNITED STATES
 CUSTOMS AND BORDER PROTECTION, PETE R.
FLORES, ACTING COMMISSIONER FOR UNITED
 STATES CUSTOMS AND BORDER PROTECTION,
     IN HIS OFFICIAL CAPACITY AS ACTING
    COMMISSIONER FOR U.S. CUSTOMS AND
    BORDER PROTECTION, UNITED STATES,
              Defendants-Appellants
              ______________________

                        2025-1813
                  ______________________

    Appeal from the United States Court of International
Trade in No. 1:25-cv-00077-GSK-TMR-JAR, Judge Gary S.
Katzmann, Judge Timothy M. Reif, and Senior Judge Jane
A. Restani.
V.O.S. SELECTIONS, INC. v. TRUMP                           3



                  ______________________

                      ON MOTION
                  ______________________

Before MOORE, Chief Judge, LOURIE, DYK, PROST, REYNA,
  TARANTO, CHEN, HUGHES, STOLL, CUNNINGHAM, and
               STARK, Circuit Judges.1
PER CURIAM.
                         ORDER
    In the above-captioned cases, the United States Court
of International Trade entered judgment against the
United States and permanently enjoined certain Executive
Orders imposing various tariffs. The United States moves
to consolidate its appeals from those rulings and has ap-
plied for this court to stay the judgment and injunction
pending these appeals and for an immediate administra-
tive stay while the court considers that motion. The United
States’s request for the Court of International Trade to
grant the same relief remains pending before that court.
    Upon consideration thereof,
    IT IS ORDERED THAT:
     (1) The motions to consolidate are granted. The ap-
peals are consolidated, such that only one set of briefs
should be filed for the appeals. The revised official caption
for the consolidated appeals is reflected in this order.
     (2) The request for an immediate administrative stay
is granted to the extent that the judgments and the perma-
nent injunctions entered by the Court of International
Trade in these cases are temporarily stayed until further
notice while this court considers the motions papers.



    1   Circuit Judge Newman did not participate.
4                           V.O.S. SELECTIONS, INC. v. TRUMP




    (3) The parties are directed to immediately inform this
court of any action taken by the Court of International
Trade on the United States’s pending stay motions.
    (4) The plaintiffs-appellees are directed to respond to
the United States’s motions for a stay no later than June 5,
2025. The United States may file a single, consolidated re-
ply in support no later than June 9, 2025.
                                             FOR THE COURT




May 29, 2025
   Date
